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                       EXHIBIT D
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        A written statement of Josh Altic’s opinions for this case is set forth below, and his
curriculum vitae is attached. Mr. Altic’s opinions are based upon his research and experience,
which are described in the attached curriculum vitae.
        Mr. Altic will provide helpful background information and context about ballot
initiatives and referendums generally, and in Ohio, specifically.
       •   Mr. Altic will testify about ways that a ballot measure, which is a direct election on
           prospective changes to state or local law, can be placed before voters, including
           legislator-initiated ballot measures, citizen-initiated ballot measures, and other
           miscellaneous measures (e.g., convention referrals). Mr. Altic will explain a ballot
           initiative is where a new addition or change to a constitution or statute is proposed
           through a ballot measure; and a ballot referendum is where the ballot measure attempts
           to change a law that the legislature has recently passed, i.e., to undo what the legislature
           has just done.

       •   Mr. Altic will testify that ballot measures are often supported by ballot campaigns. Mr.
           Altic will testify that most ballot measure campaigns and opponents to such campaigns
           are funded, as opposed to voluntary efforts, and the lack of transparency regarding the
           funding of these campaigns enables the use of entities designed to hide the source of
           the funding for the campaign or opposition.

       •   Mr. Altic will testify that ballot referendums generally require that the proponents of
           the referendum collect a set number of signatures during a proscribed period time in
           order to get the measure on the ballot for voters. Mr. Altic will testify that this requires
           ballot language certification and signature validation for the ballot referendum; and
           ultimately, voters must vote to either keep the law or overturn the law subject to the
           referendum. Mr. Altic will testify that, in Ohio, once the requisite number of signatures
           are successfully collected to put the referendum on the ballot, the law passed by the
           legislature is suspended until the referendum is considered by voters. Mr. Altic will
           explain these processes in Ohio.

       •   Mr. Altic will explain that opponents to ballot referendums at times aim to prevent the
           proponents of the referendum from collecting enough signatures to get the measure on
           the ballot. Mr. Altic will explain that common tactics by opponents attempting to
           prevent a ballot referendum campaign from collecting signatures to get the measure on
           the ballot include, attempting to hire signature collection firms and signature collectors
           to prevent them from being hired or used by the ballot campaign to collect signatures;
           spending money on a signature blocking effort; filing a lawsuit to prevent the
           referendum from moving forward or to challenge collected signatures; and a negative
           messaging campaign relating to the ballot referendum effort. Mr. Altic will testify that
           it is valuable for the opponent of a ballot referendum campaign to know how likely it
           is that the ballot campaign proponents will collect enough signatures and the status of
           the effort because this information allows the opposition to know how much resources
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           are needed to defeat the campaign and how to allocate those sources. Mr. Altic will
           explain that valuable information for the opponent’s efforts to block the proponent
           signature campaign include, knowing which counties in the state that the ballot
           campaign is successfully gathering signatures, where the ballot campaign is attempting
           to gather signatures, and the running total of signatures gathered.


I approve the content contained within this disclosure.


____________________          _____                                       ________________
Josh Altic                                                                Date
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                                                 Joshua John Altic
                                            1340 Ivanhoe St.; Denver, CO
                                                   (845) 375-0066
                                              josh.altic@ballotpedia.org




Areas of expertise                                                    Skills
●   Political topics addressed through direct democracy               ●    Research
●   The history of direct democracy                                   ●    Neutral and encyclopedic writing
●   Neutrality in journalism and voter education                      ●    Media interaction
●   Laws governing initiative and referendum processes                ●    Team management
●   Laws governing constitutional amendment processes                 ●    Communication and collaboration
●   Laws governing local ballot measures                              ●    SERPs optimization
●   Ballot measure campaigns


         Professional experience
         Director of Research for Ballotpedia
         June 2022 - Present
         ● Conducts customized research projects on a wide variety of political topics
         ● Creates structures and protocols to guarantee research accuracy, data accessibility, and client
             satisfaction
         ● Hires, trains, and manages researchers to complete multiple projects simultaneously on deadline
         ● Works with clients to design project goals
         ● Orchestrates collaboration of multiple teams
         ● Develops short- and long-term vision for the department and steers toward larger department
             goals

         Managing Editor of Ballotpedia’s Ballot Measures Project
         June 2016 - June 2022
         ● Hired, trained, and managed a team of staff writers to meet team goals and metrics
         ● Conducted research and wrote and edited encyclopedic articles about statewide ballot measures
            and a selection of local ballot measures
         ● Researched and analyzed legislative proposals in all 50 states to change the laws governing
            ballot initiatives, veto referendums, legislative referrals, recall petitions, and constitutional
            conventions
         ● Researched and maintained encyclopedic articles about the laws in all 50 states governing
            statewide ballot initiative, veto referendum, and constitutional amendment processes
         ● Conducted media interviews about current and historical ballot measures and ballot measure law
         ● Designed structures, edited, and managed writers to maintain optimal search engine results on a
            project consisting of between 300 and 1,250 new articles per year

         Staff Writer on Ballotpedia’s Ballot Measures Project
         August 2012 - June 2016
         ● Researched the laws governing local initiative and referendum process in all 50 states and
             published encyclopedic articles summarizing these processes
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 ●   Conducted research and wrote and edited encyclopedic articles about statewide ballot measures
     and a selection of local ballot measures
 ●   Researched and analyzed legislative proposals in all 50 states to change the laws governing
     ballot initiatives, veto referendums, legislative referrals, recall petitions, and constitutional
     conventions
 ●   Maintained optimal search engine results on assigned encyclopedic articles


 Select media appearances and interviews
 Fox News
        Live interview - Does having multiple social issues on the ballot drive more voters to the
        polls? - October 10, 2020

 NPR: All Things Considered
        Live interview - A Look At Some Of 2018's Most Contentious Ballot Initiatives - November 6,
        2018

 The Wall Street Journal
        Recorded interview and citation - Washington, D.C., Council Members Consider Repeal of
        Voter-Passed Minimum-Wage Increase - July 12, 2018

 PBS NewsHour
       Live interview - Legal pot, gun control and other big ballot initiatives to watch - November 2,
       2016

 The Diane Rehm Show
        Live interview - How Citizen Activism Is Driving Key Ballot Measures This Fall - October 3,
        2016


 Presentations
 State Constitutions and Governance in the U.S., Utah Valley University
        Orem, Utah; November 3, 2021
        Panel speaker - Creation and Consequence: State Constitutional Amendments

 The Pelican Institute's Constitutional Convention Forum
         Baton Rouge, Louisiana; August 20, 2019
         Panel speaker - Creating a Limited Constitutional Convention in Three Easy Steps


 Publications
 Altic, J. (2016 - 2022). The State Ballot Measure Monthly. Ballotpedia.org
           A monthly newsletter covering notable ballot measure-related news and all of the statewide
           measure certified for the ballot

 Altic, J. (2016-2021). Changes in laws governing ballot measures. Ballotpedia.org
           An annual roundup of all legislative proposals in all 50 states to change the laws governing
           ballot initiatives, veto referendums, legislatively referred ballot measures, convention-referred
           ballot measures, and recall petitions
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 Altic, J. (2022). Michigan Supreme Court overturns distribution and paid circulator registration
      requirements for initiative petition drives. BP News

 Altic, J. (2021). Ballotpedia’s year-end analysis of statewide ballot measures, BP News

 Altic, J. (2021). Ballot measure records and firsts in 2020. BP News

 Altic, J. & and Byrne, R. (2018). The Chart That Shows Some of the Biggest Midterm Surprises. The
      New York Times

         Link to full list of publications on BP News: https://news.ballotpedia.org/author/josh-altic/


 Key achievements
 Research and writing contributions to The Initiative and Referendum Almanac
        Conducted research and provided data and narrative contributions to update and publish the
        second edition of Waters, D. (2018). Initiative and Referendum Almanac. Durham, North
        Carolina: Carolina Academic Press


 Education
 Thomas Aquinas College, Santa Paula, CA
 ● Bachelor of Arts Degree in Liberal Arts, Class 2012
